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                    10

                    11                                  UNITED STATES DISTRICT COURT

                    12                             NORTHERN DISTRICT OF CALIFORNIA

                    13

                    14   JOHNNY DOE, a minor, by and through his        Case No. 4:19-cv-3629
                         Guardian, JANE DOE, on behalf of himself
                    15   and all others similarly situated,             Hon. Yvonne Gonzalez Rogers

                    16                     Plaintiff,                   DEFENDANT EPIC GAMES INC.’S
                                                                        NOTICE OF MOTION AND MOTION
                    17          v.                                      TO COMPEL ARBITRATION, OR IN
                                                                        THE ALTERNATIVE TRANSFER;
                    18   EPIC GAMES, INC., a North Carolina             MEMORANDUM OF POINTS AND
                         corporation,                                   AUTHORITIES IN SUPPORT
                    19
                                           Defendant.                   Action Filed: June 21, 2019
                    20
                                                                        Hearing Date: October 1, 2019
                    21                                                  Time:         2:00 p.m.
                                                                        Courtroom:    1
                    22
                                                                        [Declaration of John Farnsworth;
                    23                                                  [Proposed] Order filed concurrently
                                                                        herewith]
                    24
                                                                        Trial Date: None set
                    25

                    26

                    27

                    28
DRINKER BIDDLE &         DEFENDANT EPIC GAMES INC.’S NOTICE OF
   REATH LLP             MOTION AND MOTION TO COMPEL ARBITRATION,                                CASE NO. 4:19CV3629
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                     1      NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION, OR IN THE
                                               ALTERNATIVE TRANSFER
                     2
                         TO THE COURT AND PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
                     3
                                PLEASE TAKE NOTICE that on October 1, 2019 at 2:00 p.m., or as soon thereafter as this
                     4
                         matter may be heard by the Honorable Yvonne Gonzalez Rogers, in Courtroom 1, 4th Floor of the
                     5
                         above-entitled court located at 1301 Clay Street, Oakland, CA 94612, Defendant Epic Games, Inc.
                     6
                         (“Epic Games”), by and through its counsel of record, will and hereby does move this Court for an
                     7
                         order to compel plaintiff “Johnny Doe,” a minor, who has filed suit by and through his guardian,
                     8
                         “Jane Doe” (together, “Plaintiffs”), to arbitrate their dispute with Epic Games pursuant to the End
                     9
                         User License Agreement (“EULA”) in effect between Plaintiffs and Epic Games. The EULA was
                    10
                         affirmatively accepted on June 7, 2019 by a person signed into Johnny Doe’s Fortnite account.
                    11
                         Epic Games afforded Plaintiffs a 30-day opportunity to opt out of the requirement to arbitrate
                    12
                         disputes, but Plaintiffs did not exercise that opportunity. The contract therefore requires Plaintiffs
                    13
                         to arbitrate their claims. Alternatively, Epic Games seeks to dismiss the action for improper venue
                    14
                         pursuant to 28 U.S.C. § 1391(b) and 28 U.S.C. § 1406(a), or transfer of this matter to the United
                    15
                         States District Court for the Eastern District of North Carolina pursuant to 28 U.S.C. § 1404(a).
                    16
                                This Motion is based upon this Notice of Motion and Motion, the Memorandum of Points
                    17
                         and Authorities in support, the Declaration of John Farnsworth and exhibits thereto filed
                    18
                         concurrently herewith, the [Proposed] Order, as well as all papers and pleadings on file herein, and
                    19
                         such argument as properly may be presented at the hearing.
                    20

                    21   Dated: August 26, 2019                              DRINKER BIDDLE & REATH LLP
                    22

                    23                                                       By: /s/ Jeffrey S. Jacobson
                                                                                 Jeffrey S. Jacobson (pro hac vice)
                    24                                                           Matthew J. Adler
                    25                                                       Attorneys for Defendant
                                                                             EPIC GAMES, INC.
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                     1                                            INTRODUCTION

                     2          This case does not belong in a California courtroom. It belongs in arbitration, as Plaintiffs

                     3   agreed as a condition of playing a video game offered by Defendant Epic Games, Inc. (“Epic

                     4   Games”). Alternatively, it belongs in the Eastern District of North Carolina, both pursuant to

                     5   Plaintiffs’ agreement to a venue provision and to the traditional analysis under 28 U.S.C. § 1404(a).

                     6          Plaintiffs’ suit arises from in-game purchases that “Johnny Doe” allegedly made while

                     7   playing Epic Games’ highly popular video game Fortnite. To play Fortnite, Plaintiffs had to

                     8   download the Fortnite software, create a Fortnite account, and affirmatively agree to the Fortnite

                     9   EULA. Epic’s records reflect that a Fortnite account was created in Johnny Doe’s name on or

                    10   about March 4, 2018, and that the account’s creator accepted the then-effective EULA by checking

                    11   an “I agree” box and then taking the second step of click an “Accept” button. See Declaration of

                    12   John Farnsworth (“Farnsworth Decl.,” attached as Exhibit 1) ¶¶ 17 & Ex. A. The EULA in effect

                    13   in March 2018—along with all previous and subsequent versions of the Fortnite EULA since the

                    14   game’s launch in the summer of 2017—requires all litigated disputes to be heard in North Carolina

                    15   and be governed by North Carolina law. Id. ¶ 9 & Exs. A & B.

                    16          In March 2019, Epic issued an amended EULA. See Farnsworth Decl. ¶¶ 12-14 & Ex. B.

                    17   Near the beginning of the new EULA, in boldfaced, capitalized type, Epic Games advised players

                    18   that “[t]his Agreement contains a binding, individual arbitration and class action waiver provision”

                    19   that requires all persons subject to it “to resolve disputes in binding, individual arbitration and give

                    20   up the right to go to court individually or as part of a class action.” This prominent notice at the

                    21   outset of the EULA also advised players that they “have a time-limited right to opt out of this

                    22   waiver,” and the EULA included straightforward instructions on how to do so in a paragraph

                    23   labeled “Your 30-Day Right to Opt Out.” Id. ¶¶ 13-14 & Ex. B at p. 1.

                    24          In the morning of June 7, 2019, a person who was logged onto Johnny Doe’s Fortnite

                    25   account, from the same Internet Protocol (“IP”) address that had been used to create the account in

                    26   March 2018, affirmatively accepted Epic Games’ amended EULA, again by checking an “I agree”

                    27   box and then selecting an “accept” button. The EULA provided that “to enter into [it]” a person

                    28   “must be an adult of the legal age of majority” and that if the player is a minor, “your parent or
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                     1   legal guardian must consent to this Agreement.” Farnsworth Decl. ¶¶ 13-14, 20 & Ex. B at p. 1.

                     2   Once the Doe Account’s user accepted the EULA on June 7, 2019, Plaintiffs had 30 days to opt out

                     3   of the requirement to arbitrate disputes. That 30-day period lapsed on July 7, 2019, without

                     4   Plaintiffs having exercised the opt-out right in the manner set forth in the EULA. 1 See id. ¶ 22.

                     5   Accordingly, Plaintiffs are bound to arbitrate this dispute.

                     6           In the alternative, should the Court elect not to compel arbitration, this case should be

                     7   transferred to the Eastern District of North Carolina, for three reasons:

                     8           First, venue is not proper in this Court under 28 U.S.C. § 1391(b). Plaintiffs allege nothing

                     9   about their residency beyond that they reside “in California.” Compl. ¶ 4. Plaintiffs base their

                    10   decision to venue the case in the Northern District on Epic Games purportedly having a “principal

                    11   place of business located in Larkspur, California.” Id. ¶ 7. That claim, however, is false. Epic

                    12   Games does have a roughly 50-employee facility in Larkspur, but none of those employees is a

                    13   decision-maker or potential fact witness with respect to any of Plaintiffs’ claims in this matter, and

                    14   Larkspur cannot reasonably be considered a “principal place” of Epic Games’ business. Farnsworth

                    15   Decl., ¶¶ 2-7. Plaintiffs’ Complaint thus has not established either general or specific jurisdiction

                    16   over Epic Games in this District.

                    17           Second, Plaintiffs’ allegations in this case concern purchases Johnny Doe allegedly made

                    18   while playing Fortnite. The EULA that Plaintiffs accepted in March 2018 requires all disputes

                    19   between Epic Games and Fortnite players to be heard in the Eastern District of North Carolina and

                    20   decided under North Carolina law. See Farnsworth Decl. ¶ 9 & Ex. 1. Under the analysis required

                    21   by Atlantic Marine Constr. Co. v. U.S. District Court for Western District of Texas, 134 S. Ct. 568,

                    22   575-76 (2013), this venue agreement is enforceable and compels transfer.

                    23           Third, even if Plaintiffs attempt to “disaffirm” the EULA, and the Court thereby looks only

                    24   at the “traditional” transfer factors under 28 U.S.C. § 1404(a) rather than the EULA’s venue

                    25
                         1
                           Plaintiff has not disaffirmed the EULA entered into with Epic Games. The Complaint alleges
                    26   Johnny Doe “wanted to disaffirm the contract” (Complaint ¶¶ 33, 35), but (1) it is not clear whether
                         this allegation refers to the EULA or to one or more individual in-game purchases, and (2) Plaintiffs
                    27   do not allege the requisite next step, namely, that he communicated any disaffirmation. Indeed,
                         Plaintiff’s Complaint merely seeks the right to void contracts at his option. See id. ¶ 61.
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                     1   provision, the balancing test points to the Eastern District of North Carolina as the proper venue

                     2   for this case. As Plaintiffs’ Complaint (Dkt. No. 1 ¶ 5) admits, Epic Games’ headquarters is in

                     3   Cary, North Carolina. All of the relevant policy decisions, including those related to its refund

                     4   policies, were made at or near that headquarters, and all of the relevant Epic Games witnesses are

                     5   residents of North Carolina. See Farnsworth Decl. ¶¶ 2-6.

                     6             Notably, this case is the third class action filed against Epic Games in recent months. Both

                     7   other courts transferred the cases to North Carolina. See Krohm v. Epic Games, Inc. 5:19-cv-00173

                     8   (N.D. Ill.), Dkt. No. 13 (transfer order dated Apr. 30, 2019); R.A. v. Epic Games, Inc., Case No.

                     9   2:19-cv-014488 (C.D. Cal.), Dkt. No. 39 (transfer order dated July 31, 2019). The arbitration

                    10   agreement was not yet at issue in Krohm, and the R.A. court transferred the case even after the

                    11   minor plaintiff in that case purported to disaffirm the Fortnite EULAs, finding the § 1404(a)

                    12   balancing test warranted transfer even apart from the EULAs’ venue provisions. See id.

                    13                                       FACTUAL BACKGROUND
                    14        I.      Epic Games and Fortnite.
                    15          Epic Games, based in Cary, North Carolina (see Compl. ¶ 5), is the creator of Fortnite, “an

                    16   open-world survival video game in which players collect weapons, tools, and resources…in order

                    17   to survive and advance in the game. Id. ¶ 10. Players can play Fortnite without making any in-

                    18   game purchases. If players choose to make in-game purchases, they do so with Epic Games’ virtual

                    19   currency, called “V-Bucks,” which players can earn through game play and/or purchase with

                    20   money. Id. ¶¶ 19-20. Players who wish to purchase V-Bucks with money can, but need not, save

                    21   a method of payment in their accounts, rather than having to enter the payment method manually

                    22   for each purchase. See id. ¶ 26.

                    23          According to the Complaint, Johnny Doe “downloaded and installed Fortnite in and around

                    24   2018.” Compl. ¶ 29. Epic Games’ records show that a Fortnite account was created in his name

                    25   on March 4, 2018. See Farnsworth Decl. ¶ 17.

                    26       II.      Plaintiff’s Agreement to the Fortnite EULAs.
                    27          Anyone who wants to play Fortnite, in any mode and on any platform, first must agree to

                    28   the Fortnite EULA. See Farnsworth Decl. ¶¶ 9-14. The EULA, which explains a player’s rights
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                     1   and obligations related to the gaming experience, is a standard “clickwrap” agreement, which

                     2   players must affirmatively accept by completing a two-step process: Players first must click a box

                     3   that reads, “I have read and agree with the End User License Agreement.” Next, players must

                     4   confirm again by clicking an “Accept” button. Id. ¶¶ 13-14.

                     5          From the inception of the game, every version of its EULA, including the version to which

                     6   the creator of Johnny Doe’s Fortnite account agreed on March 4, 2018, has required disputes to be

                     7   heard in North Carolina, where Epic Games is based, and governed by North Carolina law. See

                     8   Farnsworth Decl. ¶ 9 & Ex. A ¶ 11. The EULA, then as now, stated:

                     9                  Amendments of this Agreement
                    10                  Epic may issue an amended Agreement, Terms of Service, or
                                        Privacy Policy at any time in its discretion by posting the
                    11                  amended Agreement, Terms of Service, or Privacy Policy on its
                                        website or by providing you with digital access to amended
                    12                  versions of any of these documents when you next access the
                                        Software. If any amendment to this Agreement, the Terms of
                    13                  Service, or Privacy Policy is not acceptable to you, you may
                                        terminate this Agreement and must stop using the Software.
                    14                  Your continued use of the Software will demonstrate your
                                        acceptance of the amended Agreement and Terms of Service as
                    15                  well as your acknowledgement that you have read the amended
                                        Privacy Policy. [Id. Ex. A § 14.]
                    16

                    17          Epic Games’ records reflect that Plaintiffs set up two different payment profiles for in-game

                    18   purchases in Johnny Doe’s account. One used a PayPal account with Johnny Doe’s email address

                    19   that charged a credit card belonging to Jane Doe. The other used a Visa card belonging to Jane

                    20   Doe. See Farnsworth Decl. ¶ 19.

                    21          Epic Games amended its EULA in March 2019. When a user of Johnny Doe’s Fortnite

                    22   account accessed the account on June 7, 2019, Epic Games displayed the new EULA on-screen and

                    23   required affirmative acceptance by an adult before the account could be used to continue playing

                    24   Fortnite. See Farnsworth Decl. ¶¶ 13-14, 20. The Doe Account user accepted the new EULA by

                    25   first checking the box labeled “I have read and agree with the End User License Agreement,” and

                    26   then clicking the button labeled “Accept.” Id., ¶¶ 14, 20.

                    27          One of the significant changes in the March 2019 EULA was a requirement to arbitrate

                    28   disputes. The new EULA called out this amendment in boldfaced, all capitalized type at its outset:
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                     1                    THIS AGREEMENT CONTAINS A BINDING, INDIVIDUAL
                                          ARBITRATION      AND    CLASS-ACTION     WAIVER
                     2                    PROVISION. IF YOU ACCEPT THIS AGREEMENT, YOU
                                          AND EPIC AGREE TO RESOLVE DISPUTES IN BINDING,
                     3                    INDIVIDUAL ARBITRATION AND GIVE UP THE RIGHT
                                          TO GO TO COURT INDIVIDUALLY OR AS PART OF A
                     4                    CLASS ACTION, AND EPIC AGREES TO PAY YOUR
                                          ARBITRATION COSTS FOR ALL DISPUTES OF UP TO
                     5                    $10,000 THAT ARE MADE IN GOOD FAITH (SEE SECTION
                                          12). YOU HAVE A TIME-LIMITED RIGHT TO OPT OUT OF
                     6                    THIS WAIVER.

                     7   Farnsworth Decl. ¶¶ 12-13 & Ex. B.
                     8           The EULA’s arbitration provisions require “Disputes” between Epic and players to “be
                     9   settled by binding individual arbitration conducted by the Judicial Arbitration Mediation Services,
                    10   Inc. (‘JAMS’) subject to the U.S. Federal Arbitration Act and federal arbitration law and according
                    11   to the JAMS Streamlined Arbitration Rules and Procedures effective July 1, 2014 (the ‘JAMS
                    12   Rules’) as modified by this agreement.” Farnsworth Decl., ¶ 21 & Ex. B § 12.3. The EULA defines
                    13   Disputes” broadly to include “any dispute, claim, or controversy…between You and Epic that
                    14   relates to your use or attempted use of Epic’s products or services and Epic’s products and services
                    15   generally, including without limitation the validity, enforceability, or scope of this Binding
                    16   Individual Arbitration section.” It further specifies that “You and Epic agree to arbitrate all
                    17   Disputes regardless of whether the Dispute is based in contract, statute, regulation, ordinance, tort
                    18   (including fraud, misrepresentation, fraudulent inducement, or negligence), or any other legal or
                    19   equitable theory.” Id., Ex. B, § 12.3.1. “[W]hether a dispute is subject to arbitration under this
                    20   Agreement will be determined by the arbitrator rather than a court.” Id.
                    21           The EULA provides that arbitrations must be conducted individually, not on a class basis,
                    22   and that those who accept the EULA “agree to only bring Disputes in an individual capacity and
                    23   shall not seek to bring, join, or participate in any class or representative action, collective or class-
                    24   wide arbitration, or any other action where another individual or entity acts in a representative
                    25   capacity.” Id.
                    26           Under the header “Your 30-Day Right to Opt Out,” the EULA advised players that “[y]ou
                    27   have the right to opt out of and not be bound by the arbitration and class action waiver provisions
                    28   set forth in this Agreement.” Farnsworth Decl., Ex. B, § 12.6. It instructed players who wished to
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                     1   exercise this right to send written notice to Epic Games at a specified address and stated, again in

                     2   bold-faced type, that “[t]o be effective, this notice must be postmarked or deposited within 30

                     3   days of the date on which you first accepted this Agreement unless a longer period is required

                     4   by applicable law; otherwise, you will be bound to arbitrate disputes in accordance with this

                     5   section.” Id.

                     6          Plaintiffs’ right to opt out expired 30 days after the Doe Account’s acceptance of the new

                     7   EULA on June 7, 2019, and they did not exercise that right in the specified manner within this time

                     8   period. See id. ¶ 22. Their filing of this lawsuit on June 21, 2019, did not follow the EULA’s opt-

                     9   out requirements and therefore did not constitute an effective opt-out. See Hanson v. TMX Finance,

                    10   LLC, No. 218CV00616RFBCWH, 2019 WL 1261100, at *3 (D. Nev. Mar. 19, 2019) (compelling

                    11   arbitration because a Plaintiff’s filing of a complaint during the arbitration clause’s sixty-day opt

                    12   out period did not satisfy “the plain terms of the opt-out provision of the agreement [which] required

                    13   Plaintiff to send a writing containing certain information to Defendant at a certain address”).

                    14          The EULA to which Plaintiffs agreed in March 2018, and the current EULA to which they

                    15   agreed in June 2019, both provide that North Carolina law will apply to any court-litigated disputes.

                    16   See Farnsworth Decl. ¶ 9, Ex. A § 11, Ex. B § 11. The amended EULA, like the original EULA,

                    17   also requires players to “submit to the exclusive jurisdiction of the Superior Court of Wake County,

                    18   North Carolina, or, if federal court jurisdiction exists, the United States District Court for the

                    19   Eastern District of North Carolina.” Id., Ex. A § 11, Ex. B § 11. The amended EULA differs only

                    20   in that this venue provision applies to “any Disputes deemed not subject to binding individual

                    21   arbitration.” Id. For arbitrable disputes, the EULA provides that “[i]f an in-person hearing is

                    22   required, the hearing will take place either in Wake County, North Carolina, or where You reside;

                    23   you choose.” Id., Ex. B § 12.3.2.

                    24          Plaintiffs’ Complaint (¶ 29) states that “Johnny Doe downloaded and installed Fortnite,”

                    25   but contains no allegations about who accepted the EULA. The Complaint ostensibly concerns his

                    26   desire to “disaffirm” one or more in game purchases he says he made without his parents’

                    27   knowledge or permission using a debit card he received as a gift. See id. ¶¶ 33, 35. Plaintiffs,

                    28
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                     1   however, do not allege that Johnny Doe wishes to disaffirm either the March 2018 or the June 2019

                     2   EULA, that he can do so, or that he ever communicated to Epic Games any intention to do so.

                     3                                               ARGUMENT
                     4   I.     The Court Should Compel Arbitration of the Complaint.
                     5          A.      The Doe Account’s Acceptance of the Amended EULA is Binding.
                     6          Epic Games’ Fortnite EULA is a standard “clickwrap” agreement that requires players to

                     7   “click a button explicitly agreeing to the terms of the contract.” See, e.g., Nguyen v. Barnes &

                     8   Noble Inc., 763 F.3d 1171, 1175-76 (9th Cir. 2014); see also McKee v. Audible, Inc., No. CV 17-

                     9   1941-GW (Ex), 2017 WL 4685039, at *6 (collecting cases holding that such agreements are binding

                    10   “even if the user does not actually read the terms of services”).

                    11          There can be no dispute that Epic Games provided clear notice of the amended EULA. A

                    12   pop-up box displayed the new EULA on players’ devices when they accessed their Fortnite

                    13   accounts after Epic made the amendments, and Epic required players to check a box that stated “I

                    14   have read and agree with the End User License Agreement,” and then click an “Accept” button.

                    15   Farnsworth Decl. ¶¶ 13-14. The amended EULA also prominently called out the new inclusion of

                    16   an arbitration requirement and players’ time-limited right to opt out of it. See id.; see also Swift v.

                    17   Zynga Game Network, Inc., 805 F.Supp. 2d 904, 912 (N.D. Cal. 2011) (finding clickwrap

                    18   agreement enforceable where presentation provided user with access to the terms of service and

                    19   required user to affirmatively accept the terms, even where the terms were not presented on the

                    20   same page as the acceptance button).

                    21          Epic Games gave Plaintiffs, like all Fortnite players, a 30-day right to opt out of the arbitration

                    22   requirement. They did not exercise this option. See, e.g., Trudeau v. Google LLC, 349 F. Supp. 3d

                    23   869, 876 (N.D. Cal. 2018) (compelling arbitration where plaintiff “did not follow the arbitration opt-

                    24   out procedures” of amended terms of service); see also id. at 881 (Google “provided ample notice to

                    25   [users], required them to accept or decline, and gave them a valid opportunity to opt out.”).

                    26          As the court held in Weber v. Amazon.com, Inc., No. CV 17-8868-GW(Ex), 2018 WL

                    27   6016975, at *7-*8 (C.D. Cal. June 4, 2018), the key question is whether Epic Games and Plaintiff

                    28   mutually assented to Epic Games’ amended EULA. Epic Games’ method of promulgating the new
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                     1   EULA leaves no room for arguments about lack of constructive notice or procedural

                     2   unconscionability. “Reasonable notice in this context requires that the consumer had either actual

                     3   or constructive notice of the terms of service; constructive notice occurs when the consumer has

                     4   inquiry notice of the terms of service, like a hyperlinked alert, and takes an affirmative action to

                     5   demonstrate assent to them. Id. at *7, citing Nguyen, 763 F.3d at 1176-79. Here, Epic Games

                     6   ensured that each player received actual notice, barring any claim of procedural unconscionability:

                     7   The EULA appeared on-screen to every player and every player had the individual choice to

                     8   affirmatively assent to it or discontinue playing Fortnite. See McKee, 2017 WL 4685039, at *12

                     9   (also finding that a contract’s being “one of adhesion…does not render it procedurally

                    10   unconscionable”), citing AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 346-47. (2010).

                    11          The Federal Arbitration Act (“FAA”) reflects a “liberal federal policy favoring arbitration.”

                    12   Concepcion, 563 U.S. at 339 (citation omitted). The FAA also requires courts to “rigorously

                    13   enforce agreements to arbitrate.” Shearson/Am. Express, Inc. v. McMahon, 482 U.S. 220, 226

                    14   (1987). The Supreme Court has instructed that “any doubts concerning the scope of arbitrable

                    15   issues should be resolved in favor of arbitration, whether the problem at hand is the construction of

                    16   the contract itself or an allegation of waiver, delay, or a like defense to arbitrability.” Moses H.

                    17   Cone Mem. Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983). A party aggrieved by the

                    18   refusal of another party to arbitrate under a written agreement may petition the Court for an order

                    19   compelling arbitration as provided for in the parties’ agreement. See 9 U.S.C. § 4.

                    20          “By its terms, the [FAA] leaves no room for the exercise of discretion by a district court,

                    21   but instead mandates that district courts shall direct the parties to proceed to arbitration on issues

                    22   as to which an arbitration agreement has been signed.” Dean Witter Reynolds, Inc. v. Byrd, 470

                    23   U.S. 213, 213 (1985) (emphasis in original); see also 9 U.S.C. § 4. “The court’s role under the

                    24   [FAA] is therefore limited to determining (1) whether a valid agreement to arbitrate exists and, if

                    25   it does, (2) whether the agreement encompasses the dispute at issue. If the response is affirmative

                    26   on both counts, then the [FAA] requires the court to enforce the arbitration agreement in accordance

                    27   with its terms.” Daugherty v. Experian Info. Solutions, Inc., 847 F. Supp. 2d 1189, 1193 (N.D. Cal.

                    28   2012), quoting Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000).
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                     1   “While the Court may not review the merits … ‘in deciding a motion to compel arbitration, [it]

                     2   may consider the pleadings, documents of uncontested validity, and affidavits submitted by either

                     3   party.’” Macias v. Excel Bldg. Servs., LLC, 767 F. Supp. 2d 1002, 1007 (N.D. Cal. 2011), quoting

                     4   Ostroff v. Alterra Healthcare Corp., 433 F. Supp. 2d 538, 540 (E.D. Pa. 2006).

                     5            These authorities confirm the enforceability of Epic Games’ EULA. Procedurally, Epic

                     6   Games promulgated the new EULA in a standard “clickwrap” manner that courts around the

                     7   country enforce uniformly. The EULA’s substantive provisions are even more consumer-friendly

                     8   than the agreement enforced in McKee. The court in McKee carefully examined precedent

                     9   construing the same types of provisions and found them not to be unconscionable. See McKee,

                    10   2017 WL 4685039, at *13. In particular, the court recited “the breadth of case law permitting [class

                    11   action] waivers.” Id. (citing cases). Epic Games’ agreement to pay a claimant’s arbitration fees

                    12   (see Farnsworth Decl. ¶ 21, Ex. B § 12.3.3) also is more consumer-friendly than the provision

                    13   analyzed and found fair in Dupler v. Orbitz, LLC, No. CV182303RGKGSJX, 2018 WL 6038309

                    14   at *4 (C.D. Cal. July 5, 2018) (compelling arbitration).

                    15            B.      This Dispute Falls Squarely Within The Scope Of The Agreement.
                    16            Epic Games’ amended EULA defines “Disputes” broadly to include “any dispute, claim, or

                    17   controversy…between You and Epic that relates to your use or attempted use of Epic’s products or

                    18   services and Epic’s products and services generally, including without limitation the validity,

                    19   enforceability, or scope of this Binding Individual Arbitration section.” Farnsworth Decl. ¶ 21, Ex.

                    20   B § 12.3.1. “Any doubts as to whether a particular dispute falls within the scope of the agreement

                    21   are typically resolved in favor of arbitration.” Dupler, 2018 WL 6038309, at *3, citing AT&T Tech.,

                    22   Inc. v. Comm. Workers of America, 475 U.S. 643, 650 (1986). Plaintiffs allege that while playing

                    23   Fortnite, Johnny Doe made in-game purchases, at least some of which he now wishes to “disaffirm.”

                    24   These plainly are claims about Plaintiffs’ “use or attempted use of Epic’s products or services,” and

                    25   therefore are “Disputes” that must be arbitrated pursuant to the EULA.

                    26   II.      Alternatively, This Case Should Be Dismissed Or Transferred.

                    27         This Court should compel arbitration of all of Plaintiffs’ claims. To any extent this Court may

                    28   hold Plaintiff’s claims not to be subject to arbitration, however, the Fortnite EULA requires those
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                     1   non-arbitrable claims to be litigated in the United States District Court for the Eastern District of

                     2   North Carolina. Both the EULA and the analysis under 28 U.S.C. § 1391(b) and 28 U.S.C. § 1404(a)

                     3   support transfer.

                     4           A.      Dismissal Or Transfer To The Eastern District Of North Carolina Is
                                         Appropriate Based on Improper Venue Under 28 U.S.C. § 1391(b) and 28
                     5                   U.S.C. § 1406(a).
                     6
                                         1.      Venue Does Not Lie Here Under § 1391(b)(1) Because Epic Games
                     7                           Does Not Reside in the Northern District of California.

                     8           It is Plaintiffs’ burden to demonstrate that their chosen venue is proper and complies with

                     9   28 U.S.C. § 1391(b). See Piedmont Label Co. v. Sun Garden Packing Co., 598 F.2d 491, 496 (9th

                    10   Cir. 1979). Conclusory allegations of venue will not suffice. See eBay Inc. v. Digital Point Sols.,

                    11   Inc., 608 F. Supp. 2d 1156, 1161 (N.D. Cal. 2009) (on consideration of a motion to dismiss for

                    12   improper venue, “the allegations in the complaint need not be accepted as true and the Court may

                    13   consider evidence outside the pleadings”). Section 1391(b) provides that an action may be brought

                    14   only in: (1) a district “in which any defendant resides, if all defendants are residents of the State in

                    15   which the district is located;” (2) a district “in which a substantial part of the events or omissions

                    16   giving rise to the claim occurred, or a substantial part of property that is the subject of the action is

                    17   situated;” or (3) if there is “no district in which an action may otherwise be brought,” any district

                    18   “in which any defendant is subject to the court’s personal jurisdiction with respect to such action.”

                    19           Under § 1391(b)(1), venue can be proper in this District only if Epic Games “resides” here.

                    20   As set forth above, an entity’s residency, for venue purposes, is defined by § 1391(c)(2), which

                    21   provides that it “shall be deemed to reside … in any judicial district in which such defendant is

                    22   subject to the court’s personal jurisdiction with respect to the civil action in question . . . .” Because

                    23   California has more than one judicial district, Epic Games is deemed to reside in the Northern

                    24   District only if its contacts “would be sufficient to subject it to personal jurisdiction if [the

                    25   Northern] district were a separate State.” Id. §1391(d) (emphasis added).

                    26           Personal jurisdiction may be general or specific. General jurisdiction focuses on whether

                    27   the defendant is “at home” in the forum. It “calls for an appraisal of a corporation’s activities in

                    28   their entirety, nationwide and worldwide. A corporation that operates in many places can scarcely
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                     1   be deemed at home in all of them.” Daimler AG v. Bauman, 134 S. Ct. 746, 762 n.20 (2014). As

                     2   the Supreme Court has explained, “only a limited set of affiliations with a forum will render a

                     3   defendant amenable to [general] jurisdiction there.” Id. at 760. For a corporation, this “limited set

                     4   of affiliations” justifying the exercise of general jurisdiction is generally held to be the state of

                     5   incorporation and the corporation’s principal place of business. Id. Here, as Plaintiffs’ Complaint

                     6   (¶ 5) admits, Epic Games’ headquarters and principal place of business are in Cary, North Carolina.

                     7   See Farnsworth Decl. ¶¶ 2-6. Epic Games was incorporated in Maryland in 1993. See id. ¶ 2.

                     8   Those are the only two places, therefore, in which Epic Games is subject to general jurisdiction.

                     9           Epic Games’ office in Larkspur, California, is a satellite office with roughly 50 employees.

                    10   None of the employees are involved in policy-making on any subject, much less the subjects raised

                    11   by Plaintiff’s Complaint. See Farnsworth Decl. ¶¶ 2-6. Epic Games, therefore, is not subject to

                    12   general jurisdiction in this District.

                    13           Plaintiffs have not established specific, or “case-linked,” jurisdiction, in the Northern

                    14   District, either. Such jurisdiction arises where all of the following criteria are satisfied: (1) the

                    15   defendant has performed some act or consummated some transaction with the forum by which it

                    16   purposefully availed itself of the privilege of conducting business in California; (2) the plaintiff’s

                    17   claims arise out of or result from the defendant’s forum-related activities; and (3) the exercise of

                    18   jurisdiction is reasonable. Rio Properties, Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1019 (9th Cir.

                    19   2002), citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475–76 (1985). A plaintiff bears the

                    20   burden of demonstrating the first two prongs. See CollegeSource, Inc. v. AcademyOne, Inc., 653

                    21   F.3d 1066, 1076 (9th Cir. 2011). A lawsuit arises out of a defendant’s contacts with a forum state

                    22   if there is a direct nexus between the claims being asserted and the defendant’s activities in the

                    23   forum. See Shute v. Carnival Cruise Lines, 897 F.2d 377, 385 (9th Cir. 1990), rev’d on other

                    24   grounds, 499 U.S. 585 (1991).

                    25           Plaintiffs’ boilerplate and false jurisdictional allegations concerning Epic Games’ Larkspur

                    26   office do not satisfy these elements. Plaintiffs admit that Larkspur is not Epic Games’ headquarters,

                    27   and they plead nothing to support the bare claim that Epic Games “conducts substantial business in

                    28   this District” or that “a substantial part of the acts and omissions complained of occurred in this
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                     1   District.” Compl. ¶ 7. Because Plaintiffs do not even plead that they reside in this District, they

                     2   have not established that any of the alleged acts and omissions giving rise to the Complaint occurred

                     3   in the District. Indeed, Plaintiffs allege no more than that they are residents of California generally

                     4   (not the Northern District), and that Epic Games has a physical location in Larkspur which is not

                     5   its principal place of business. This does not suffice. See Daimler, 134 S. Ct. at 762 n.20.

                     6          All policymaking related to refunds occurred in or around Cary, North Carolina. See

                     7   Farnsworth Decl. ¶ 5. Because Plaintiffs’ claims do not arise out of or relate to any Northern

                     8   California-related activity by Epic Games, the requisite “direct nexus” does not exist. See Bristol

                     9   Myers Squibb Co. v. Superior Court of Cal., 137 S. Ct. 1773, 1782 (2017). Thus, this Court lacks

                    10   specific jurisdiction over Epic Games, and venue does not lie under § 1391(b)(1).

                    11                  2.      Venue Does Not Lie under § 1391(b)(2) Because No Events Giving Rise
                                                to Plaintiffs’ Claims Occurred in This District.
                    12          Under § 1391(b)(2), “a substantial part of the events or omissions giving rise to the claim”
                    13   must have occurred in the plaintiff’s chosen venue, or “a substantial part of property that is the
                    14   subject of the action” must be situated there. “To determine whether a substantial part of the events
                    15   giving rise to the claim occurred in the forum, the court first considers what acts or omissions by
                    16   the defendants give rise to the plaintiffs’ claims.” United Tactical Sys. LLC v. Real Action
                    17   Paintball, Inc., 108 F. Supp. 3d 733, 752 (N.D. Cal. 2015) (citation omitted). As set forth above,
                    18   Plaintiffs’ claims stem from Epic Games’ alleged refund and disclosure policies. These marketing-
                    19   based claims arose from decisions that did not take place in California and have no factual nexus
                    20   to the state, nor do they involve any property in California. See Farnsworth Decl. ¶¶ 5-7. Thus,
                    21   venue does not lie in this Court under § 1391(b)(2), either.
                    22
                                        3.      Section 1391(b)(3) Does Not Apply Because the Action May Be
                    23                          Brought in the Eastern District of North Carolina.

                    24          Section 1391(b)(3) is a fallback provision that applies only if there is “no district in which

                    25   an action may otherwise be brought.” This venue provision does not apply here because, as set

                    26   forth below, the action could have—and, by the terms of the EULA, should have—been brought in

                    27   the Eastern District of North Carolina, Epic Games’ headquarters.

                    28
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                     1                  4.      This Action Must Be Dismissed or Transferred.

                     2          Plaintiffs have not met their burden to establish proper venue. Thus, under 28 U.S.C.

                     3   § 1406(a), this Court “shall dismiss, or if it be in the interest of justice, transfer such case to any

                     4   district or division in which it could have been brought.” If the Court decides to transfer the action,

                     5   the Eastern District of North Carolina is a proper venue for Plaintiff and the most convenient venue

                     6   for the parties and witnesses.

                     7          B.      The Binding Forum Selection Clause in All Fortnite End User License
                                        Agreements Requires All Disputes to be Heard in North Carolina.
                     8

                     9          Even if Plaintiffs had a valid basis to sue in this District, which they did not, and the

                    10   arbitration clause did not apply, which it does, the Court still should transfer the case to the Eastern

                    11   District of North Carolina. Epic Games’ EULA allows Plaintiffs to elect to arbitrate a dispute in

                    12   their home county, but it has a North Carolina forum clause for litigation. Because the parties

                    13   agreed to a forum selection clause, the Supreme Court’s decision in Atlantic Marine Constr. Co. v.

                    14   U.S. District Court for Western District of Texas, 134 S. Ct. 568 (2013)—where a plaintiff violated

                    15   a contract requiring litigation to occur in Virginia by suing instead in Texas—controls how the

                    16   Court must consider this transfer motion. Atlantic Marine explained that the normal “weigh[ing of]

                    17   the relevant factors [under § 1404(a)] … changes when the parties’ contract contains a valid forum

                    18   selection clause, which represents the parties’ agreement as to the most proper forum.” Id. at 579.

                    19                  The enforcement of valid forum-selection clauses, bargained for by
                                        the parties, protects their legitimate expectations and furthers vital
                    20                  interests of the justice system. For that reason, and because the
                                        overarching consideration under § 1404(a) is whether a transfer
                    21                  would promote “the interest of justice,” a valid forum-selection
                                        clause [should be] given controlling weight in all but the most
                    22                  exceptional cases. [Id. at 581.]

                    23          The “calculus changes” in that “[f]irst, the plaintiff’s choice of forum merits no weight.”

                    24   Atlantic Marine, 134 S. Ct. at 581. Instead, “as the party defying the forum-selection clause, the

                    25   plaintiff bears the burden of establishing that transfer to the forum for which the parties bargained

                    26   is unwarranted. . . .” Id. Courts also may not “consider arguments about the parties’ private

                    27   interests” because their agreement to a forum selection clause “waive[d] the right to challenge the

                    28   preselected forum as inconvenient or less convenient for themselves or their witnesses.” Id. at 582.
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                     1   Finally, “when a party … flouts its contractual obligation and files suit in a different forum, a

                     2   § 1404(a) transfer of venue will not carry with it the original venue’s choice of law rules.” Id.

                     3   “[T]he practical result” of this streamlined analysis “is that forum-selection clauses should control

                     4   except in unusual cases.” Id. at 582. The Supreme Court directed the Fifth Circuit to decide

                     5   whether there existed any “public-interest factors that might support the denial of [the] motion to

                     6   transfer,” noting that no such factors “are apparent on the record before us.” Id. at 584.

                     7          Plaintiffs’ Complaint does not challenge the EULA’s venue clause, nor would they have

                     8   any basis to do so. A forum-selection clause is “prima facie valid and should be enforced unless

                     9   enforcement is shown by the resisting party to be unreasonable under the circumstances.”

                    10   Fireman’s Fund Ins. Co. v. M.V. DSR Atl., 131 F.3d 1336, 1338 (9th Cir. 1997), as amended (Mar.

                    11   10, 1998), citing The Bremen v. Zapata Off-Shore Co., 401 U.S. 1, 10, (1972). “Both the Supreme

                    12   Court and the [Ninth Circuit] have construed this exception narrowly.” Lentini v. Kelly Servs. Inc.,

                    13   No. C17-3911 WHA, 2017 WL 4354910, at *1 (N.D. Cal. Oct. 2, 2017), citing Murphy v. Schneider

                    14   Nat’l, Inc., 362 F.3d 1133, 1140 (9th Cir. 2004). There is a “strong policy in favor of the

                    15   enforcement of forum selection clauses,” and a plaintiff’s desire to litigate elsewhere does not

                    16   outweigh it. K&H Mfg. Co. v. Strong Indus., Inc., No. 07-01636-PHX-DGC, 2008 WL 65606, at

                    17   *4 (D. Ariz. Jan. 4, 2008), citing E. & J. Gallo Winery v. Andina Licores S.A., 446 F.3d 984, 992

                    18   (9th Cir. 2006). Enforcement is only “unreasonable” where it would contravene a strong public

                    19   policy of the transferor forum—a narrow exception not implicated in this case. Id.

                    20          The result is the same under federal common law, North Carolina law (per the EULA), or

                    21   California law. In North Carolina, a plaintiff seeking to avoid enforcement of a forum selection

                    22   clause carries “a heavy burden and must demonstrate that the clause was the product of fraud or

                    23   unequal bargaining power or that the enforcement of the clause would be unfair or unreasonable.”

                    24   Parson v. Oasis Legal Fin., LLC, 214 N.C. App. 125, 135 (2011), quoting Perkins v. CCH

                    25   Computax, Inc., 333 N.C. 140, 146 (1992). In Parson, the court held it to be error that the lower

                    26   court found enforcement of the forum selection clause to be unreasonable based solely on the

                    27   potential value of the damages claimed. Id., 214 N.C. App. at 135. California similarly enforces

                    28   contractual forum selection clauses unless they are unreasonable. See Smith, Valentino & Smith,
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                     1   Inc. v. Superior Court, 17 Cal. 3d 491, 495-96 (1976).               The burden of demonstrating

                     2   unreasonableness is on the plaintiff. See Schlessinger v. Holland America, N.V., 120 Cal. App. 4th

                     3   552, 558-59 (2004).

                     4          Atlantic Marine requires Plaintiffs to carry their burden in opposing transfer solely by

                     5   reference to public interest factors.    “Public-interest factors may include the administrative

                     6   difficulties flowing from court congestion; the local interest in having localized controversies

                     7   decided at home; [and] the interest in having the trial of a diversity case in a forum that is at home

                     8   with the law.” Atlantic Marine, 134 S. Ct. at 582 n.6. This is not a localized controversy; it is

                     9   between a North Carolina company and California residents regarding alleged misrepresentations

                    10   made from North Carolina. Familiarity with the law weighs in favor of transfer because the EULA

                    11   provides that disputes are be governed by North Carolina law.

                    12          The parties’ choice of law reflected in a contract clause will govern provided the chosen

                    13   state bears a substantial relationship to the parties of their transaction and enforcement of the

                    14   provision does not violate a fundamental public policy of California.” Hatfield v. Halifax PLC,

                    15   564 F.3d 1177, 1182-83 (9th Cir. 2009). “A substantial relationship exists between a party and the

                    16   state that party is domiciled, resides, or is incorporated in.” Id., citing Nedlloyd Lines B.V. v.

                    17   Superior Court, 3 Cal.4th 459 (1992) (incorporation and domicile create substantial relationship).

                    18   “Enforcing a choice of law provision does not violate a fundamental public policy of California if

                    19   doing so would not create a conflict with California law.” Id. (citations omitted). “The burden is

                    20   on the party opposing the choice-of-law provision to establish both the ‘fundamental conflict’ and

                    21   ‘materially greater interest’ prongs.” Id., quoting Wash. Mut. Bank, FA v. Superior Court, 24 Cal.

                    22   4th 906 (Cal. 2001).

                    23          C.      Alternatively, A Traditional § 1404(a) Analysis Equally Favors Transfer.
                    24          Plaintiffs have not attempted to disaffirm either EULA at issue in this case. Even if they could

                    25   and do disaffirm both EULAs, or the Court otherwise declines to apply the EULAs North Carolina

                    26   choice of law clause, the traditional transfer factors analyzed under 28 U.S.C. § 1404(a) would

                    27   nevertheless compel the conclusion that this case belongs in the Eastern District of North Carolina.

                    28
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                     1          By happenstance, this case is the third class action brought against Epic Games in recent

                     2   months and filed in districts other than the required venue of North Carolina. The courts in both

                     3   other cases transferred them to the Eastern District of North Carolina. In the first case, which did

                     4   not involve a companion motion to compel arbitration, the Hon. Harry Leinenweber issued a brief

                     5   transfer order sending a plaintiff’s claims out of the Northern District of Illinois. See Krohm v.

                     6   Epic Games, Inc. 5:19-cv-00173 (N.D. Ill.), Dkt. No. 13. In the second-filed case, the Hon. George

                     7   Wu transferred a minor’s complaint against Epic Games out of the Central District of California

                     8   even after the minor purported to disaffirm both the new EULA with its arbitration provision and

                     9   the prior EULA with its choice of law clause. See R.A. v. Epic Games, Inc., Case No. 2:19-cv-

                    10   014488-GW-E (C.D. Cal., Dkt. No. 39). That case concerned in-game purchases by a minor

                    11   playing Fortnite. In granting transfer to North Carolina, Judge Wu found:

                    12                  On balance, while Plaintiff’s choice of forum is subject to some
                                        deference, the Court would conclude that the parties’ contacts with
                    13                  North Carolina, the amount of witnesses located there, and the fact
                                        that the Central District of California bench is vastly understaffed
                    14                  weigh in favor of transfer. Otherwise, the factors involved in the
                                        traditional § 1404(a) analysis are largely neutral…. The operative
                    15                  facts surrounding [allegations] occurred in North Carolina. As such,
                                        the Court would transfer the action to the Eastern District of North
                    16                  Carolina. [Id. at 15-16.]
                    17          Should the Court decline to compel arbitration, the result here should be the same as in R.A.

                    18   The operative facts surrounding the design and marketing of Epic’s products, as well as

                    19   development of Epic Games’ refund policy at issue, occurred in North Carolina. As set forth below,

                    20   analysis of the factors set forth under § 1404(a) mandate transfer.

                    21          The purpose of § 1404(a) is “to prevent the waste of time, energy, and money and to protect

                    22   litigants, witnesses and the public against unnecessary inconvenience and expense.” Van Dusen v.

                    23   Barrack, 376 U.S. 612, 616 (1964) (citation omitted). “[C]ourts have broad discretion to adjudicate

                    24   [§ 1404(a) motions to transfer] ‘according to an individualized, case-by-case consideration of

                    25   convenience and fairness.’” U.S. Bank, N.A. v. PHL Variable Ins. Co., No. 2:11-cv-9517-

                    26   ODW(RZx), 2012 WL 3848630, at *1 (C.D. Cal. Sept. 4, 2012), quoting Jones v. GNC

                    27   Franchising, Inc., 211 F.3d 495, 498 (9th Cir. 2000). Section 1404(a) only defines three factors to

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                     1   consider: the convenience of the parties, the convenience of witnesses, and the interest of justice.

                     2   However, under Ninth Circuit precedent, other factors that the Court may consider include:

                     3                  (1) the location where the relevant agreements were negotiated and
                                        executed, (2) the state that is most familiar with the governing law,
                     4                  (3) the plaintiff’s choice of forum, (4) the respective parties’ contacts
                                        with the forum, (5) the contacts relating to the plaintiff’s cause of
                     5                  action in the chosen forum, (6) the differences in the costs of
                                        litigation…, (7) the availability of compulsory process to compel
                     6                  attendance of unwilling non-party witnesses, (8) the ease of access
                                        to sources of proof, (9) the presence of a forum selection clause, and
                     7                  (10) the relevant public policy of the forum state.
                     8   Newthink LLC v. Lenovo (U.S.) Inc., No. 2:12-cv-5443-ODW(JCx), 2012 WL 6062084, at *1 (C.D.

                     9   Cal. Dec. 4, 2012), quoting Jones, 211 F.3d at 498.

                    10
                                        1.      Convenience to the Parties and Witnesses, and the Location of
                    11                          Relevant Evidence, Tip In Favor of North Carolina.

                    12          “[T]he convenience and cost of attendance of witnesses” is the most important factor in the

                    13   § 1404(a) analysis. Newthink LLC, 2012 WL 6062084, at *1; see also L.A. Printex Indus., Inc. v.

                    14   Le Chateau, Inc., No. CV 10-4264 ODW (FMOx), 2011 WL 2462025, at *3 (C.D. Cal. June 20,

                    15   2011); Jang v. Boston Sci. Scimed, Inc., No. CV 10-3911 ODW (VBKx), 2010 WL 11463889, at

                    16   *3 (C.D. Cal. Aug. 9, 2010). That factor tips only in one direction: North Carolina. Plaintiffs’

                    17   Complaint concerns Epic Games’ marketing of certain in-game purchase opportunities and its

                    18   refund policies with respect to in-game purchases. The Epic Games’ employees who are familiar

                    19   with these topics work at or near Epic Games’ Cary, North Carolina headquarters. See Farnsworth

                    20   Decl. ¶ 5. “For these witnesses, the most convenient forum is obvious.” Newthink LLC, 2012 WL

                    21   6062084, at *1. Assessing this factor in the R.A. case, Judge Wu transferred the case to the Eastern

                    22   District of North Carolina finding:

                    23                  Despite the potential inconvenience to Plaintiff by transferring to
                                        another forum, the reality is that one party will have to travel cross-
                    24                  country for this trial depending on where the venue is located. At
                                        this time, [Epic] has made persuasive arguments that the people with
                    25                  the most knowledge about the operative facts of this case … are in
                                        North Carolina, which would support transfer due to convenience to
                    26                  both parties to litigate in the forum where these acts occurred. While
                                        the Court recognizes [Epic] may be better positioned to absorb the
                    27                  costs of litigation, the Court is not convinced that argument
                                        overcomes the fact that nearly all of the witnesses and operative facts
                    28                  are in North Carolina, especially considering that Plaintiff is
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                     1                  asserting a class action and has not provided any information about
                                        whether he, or his counsel, will bear the costs of litigating the claims.
                     2
                         R.A., Dkt. No. 39 at 13. Similarly, in this case, the operative facts surrounding the marketing and
                     3
                         sale of V-Bucks and the development and implementation of Fortnite’s refund policy occurred in
                     4
                         North Carolina. Accordingly, this factor weighs decisively in favor of transfer to North Carolina.
                     5
                                        2.      Transfer of the Action to the Eastern District of North Carolina Will
                     6                          Save the Parties and the Court Time and Expense.

                     7          Additionally, it will be less costly to litigate this case in North Carolina: The defendant
                     8   maintains its headquarters in North Carolina and the relevant witnesses are located there. See
                     9   F.T.C. v. Wright, No. 2:13-CV-2215-HRH, 2014 WL 1385111, at *4 (D. Ariz. Apr. 9, 2014).
                    10   Further, to the extent any relevant witness is a former employee or otherwise disinclined to testify,
                    11   a North Carolina court will be much better positioned than one in California to issue compulsory
                    12   process. Plaintiffs, by contrast, cannot “point to any relevant evidence or witness that may be in
                    13   California,” other than themselves. See Dahdoul Textiles, Inc. v. Zinatex Imports, Inc., No. 2:15-
                    14   cv-4011-ODW(ASx), 2015 WL 5050514, at *4 (C.D. Cal. Aug. 25, 2015).
                    15                  3.      The Parties’ Respective Contacts Weigh In Favor of Transfer.
                    16          “[M]isrepresentations and omissions [] are deemed to occur in the district where they are
                    17   transmitted or withheld, not where they are received.” Cohn v. Oppenheimerfunds, Inc., No.
                    18   09cv1656-WQH-BLM, 2009 WL 3818365, at *5 (S.D. Cal. Nov. 12, 2009) (citation omitted); see
                    19   also Burns v. Gerber Prod. Co., 922 F. Supp. 2d 1168, 1171 (E.D. Wash. 2013) (“Thus, the crux
                    20   of the present case is not Washington, the state where Plaintiff purports to have purchased a falsely
                    21   advertised product, but rather New Jersey, the state where Gerber is headquartered and allegedly
                    22   issued misrepresentation concerning its products.”) Here, Plaintiffs allege that Epic Games made
                    23   misrepresentations and omissions in connection with the sale of V-Bucks and Fortnite’s refund
                    24   policy, which are matters determined by employees located in North Carolina, not California.
                    25                  4.      Plaintiff’s Choice of Forum Should Be Given Little Weight In This
                                                Class Action Suit.
                    26
                                Plaintiffs’ choice to sue in California carries significantly less weight by virtue of their
                    27
                         attempt to represent a class. In class actions, courts do not defer to the named plaintiffs’ choice of
                    28
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                     1   forum. See Billing v. CSA-Credit Sols. of Am., No. 10-cv-0108 BEN (NLS), 2010 WL 2542275, at

                     2   *5 (S.D. Cal. June 21, 2010); see also Ambriz v. Coca Cola Co., No. 13-cv-03539-JST, 2014 WL

                     3   296159, at *6 (N.D. Cal. Jan 27, 2014) (“Although some of these factors are neutral, only one

                     4   points in favor of the Northern District: Plaintiff’s choice of forum. And in a case such as this one,

                     5   where the plaintiff has brought an action on behalf of a class and the operative facts have not

                     6   occurred within the forum, the plaintiff’s choice … is entitled to less weight.”)

                     7          Notably, the R.A. court transferred that case even though those plaintiffs sought to represent

                     8   a California-only class. In Billing, similarly, the court considered a motion to transfer to the

                     9   Northern District of Texas where the plaintiff resided in California and sought to represent a

                    10   California-only class. 2010 WL 2542275, at *2. In balancing the § 1404(a) factors, the court found

                    11   that plaintiff’s choice of forum should be “given less weight” when bringing claims on behalf of a

                    12   class. Id. at *5. Weighing all of the other factors, it found the action should be transferred to the

                    13   Northern District of Texas. See id. at *5-6. Here, by contrast, Plaintiffs are seeking to represent a

                    14   putative nationwide class, which counsels even more against deference to their venue choice.

                    15          If the Court declines to compel arbitration, therefore, it should transfer Plaintiffs’ claims to

                    16   the Eastern District of North Carolina, as the prior courts in the R.A. and Krohm cases did.

                    17                                             CONCLUSION
                    18          For each of the foregoing reasons, Epic Games respectfully requests that this Court compel

                    19   arbitration, or in the alternative, either dismiss this case for improper venue pursuant to 28 U.S.C.

                    20   § 1391 or else transfer this case to the Eastern District of North Carolina pursuant to the EULA, or

                    21   28 U.S.C. § 1404(a).

                    22

                    23   Dated: August 26, 2019                              DRINKER BIDDLE & REATH LLP
                    24

                    25                                                       By: /s/ Jeffrey S. Jacobson
                                                                                 Jeffrey S. Jacobson (pro hac vice)
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